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                      IN THE UNITED STATES DISTRIGIMETVED
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISIOlin DEC I 5 P 1
                                                   07PRA P. HACKETT, Qt_ic
SANDY L. STROZIER                                       DT5TRIDLCURT
         Plaintiff,                                  'TOLE DISTRV. Al A


v.                                                         CASE         cv- gs- 3
                                                           DEMAND FOR JURY TRIAL
THE CITY OF LANETT,
KYLE MCCOY,individually and his
Official capacity as Mayor of the City
of Lanett, JASON ABERNATHY, individually
and his official capacity as Code Enforcement
Officer for the City Of Lanett.


                                     COMPLAINT
                                         Parties
     1. Plaintiff, Sandy L. Strozier, is over the age of nineteen (19) years, a citizen
of the United States and the State of Georgia and resides at 6412 Woodbryar
Lane, Midland Georgia, 31820.
     2. Defendant, City of Lanett, is a duly incorporated Municipal Corporation
incorporated in the County of Chambers,State of Alabama. All at all times
material hereto the principal government offices of the City of Lanett are located
at 401 N. Lanier Avenue, Lanett AL 36863.
     3. Defendant, Kyle McCoy is over the age of nineteen years(19)a citizen of
the United States and the State of Alabama. At aIl times material hereto
Defendant McCoy is the duly elected Mayor of the City of Lanett.
     4. Defendant,Jason Abernathy, is over the age of nineteen years(19) a
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citizen of the United States and the State of Alabama. At all times material hereto
Defendant Abernathy is a servant, agent and employee of Defendant City of
Lanett and,the duly appointed Code Enforcement Officer for the City of Lanett.
                                    JURISDICTION
     5. The Federal Court has jurisdiction over this matter pursuant to the
Fourteenth Arnendment to the Constitution of the United States. This matter
arises under 28 USC 1331 and 1343 and 28 USC 1367.
                                    ALLEGATIONS
     6. On or about the year 2005, plaintiff purchased real property in the City of
Lanett identified as 6145 6th Avenue, Lanett, Alabama. At all times material
hereto, a residence was located on the property and attached thereto.
     7. That subsequent to the purchase of the property plaintiff commenced
repairing the residence.
     8. On or about October 14, 2015, defendant Abernathy caused a notice to
be forwarded to the last known address of the plaintiff indicating, the residence
on plaintiffs property was dilapidated/burned, and requiring plaintiff to repair
same and bring it up to state code or tear it down,or remove same in order to
abate the unsafe condition and public nuisance.
     9. That defendant Abernathy caused subsequent notices to be forwarded to
plaintiff on December 28, 2015 and December 27, 2016. The Decernber 27, 2016
notice was forwarded to JP Morgan Chase,the holder of a mortgage on the
property. The notice specifically stated, inter alia,'Consider this your final notice
that the property is condemned and must be abated'.
     10.That all notices forwarded to plaintiff via Certified United States Mail
were returned to defendants marked 'unclaimed'.
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     11.That defendants possessed knowledge on or about October 2015 upon
return of the first notice that subsequent notices mailed to the plaintiffs address
listed with the Chambers County Revenue Commissioner's office was insufficient
to apprise plaintiff of defendants' claim the residence was in violation of the state
code, and requiring plaintiff to abate the unsafe condition and public nuisance.
     12.That 11-40-33 Code of Alabama 1975 provides, inter alia,'a) Within the
times specified in the notice, but not more than 30 days from the date the notice
is given, any person,firm or corporation having an interest in the building or
structure may file a written request for a hearing before the governing body of
the municipality, together with his or her objections to the finding by the
municipal official that the building or structure is unsafe to the extent of
becoming a public nuisance. The filing of the request shall hold in abeyance any
action on the finding of the municipal official until determination therein is made
by the governing body'. The defendant, City of Lanett, is governed by the cited
state statute.
     13.That prior to the lapse of 30 days from the December 27, 2016 notice,
plaintiff spoke to Defendants McCoy and Abernathy and registered his objections
to the finding the residence was a public nuisance, and indicated substantial
repairs had been made and additional repairs were presently being made.
     14.That prior to the Iapse of 30 days from the December 27, 2016 notice,
Plaintiff caused written objections to be forwarded to defendant City by facsimile
and certified mail indicating the residence was not unsafe to the extent of
becoming a public nuisance.
     15.That at the time defendants caused plaintiffs residence to be razed, the
residence was not unsafe to the extent of becoming a public nuisance.
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     16. As a result of the above premises plaintiff has suffered, incidental
damages, economic injury and mental anguish.
                               First Claim For Relief
     17.That the notices sent by defendants to plaintiff via United States Mail,
with knowledge plaintiff would not receive same,failed to apprise plaintiff of the
finding by defendants the residence was in violation of state code, and that
plaintiff should abate the unsafe condition and public nuisance, violating
plaintiffs right to due process of law under the Fourteenth Amendment to the
Constitution of the United States.
                             Second Claim For Relief
     18.That the notices sent by defendants to plaintiff via United States Mail,
with knowledge plaintiff would not receive same,failed to apprise plaintiff of the
finding by defendants the residence was in violation of state code, and that
plaintiff should abate the unsafe condition and public nuisance, deprived plaintiff
of his property without due process of law in violation of the Fourteenth
Amendment of the Constitution of the United States.
                              Third Claim For Relief
     19.That razing the residence subsequent to plaintiff serving notice upon
defendants objecting to finding the residence a public nuisance, and prior to the
lapse of 30 days from defendant's December 27, 2016 notice, violated plaintiffs
right to due process of law afforded under the Fourteenth Amendment to the
Constitution of the United States.
                              Fourth Claim For Relief
     20.That razing the residence prior to the lapse of 30 days from defendant's
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December 27, 2016 notice, violated plaintiffs right to due process of law afforded
under the Fourteenth Amendment to the Constitution of the United States.
                               Fifth Claim For Relief
     21.That razing the residence subsequent to plaintiff serving notice upon
defendants objecting to finding the residence a public nuisance, and prior to the
lapse of 30 days from the December 27, 2016 notice, deprived plaintiff of his
property without due process of law afforded under the Fourteenth Amendment
to the Constitution of the United States.
                               Sixth Claim For Relief
     22.That razing the residence prior to the lapse of 30 days from defendant's
December 27, 2016 notice deprived Plaintiff of his property without due process
of law afforded under the Fourteenth Amendment to the Constitution of the
United States.
                             Seventh Claim For Relief
     23.That defendants razing the residence subsequent to plaintiff serving
notice upon defendants objecting to finding the residence a public nuisance, and
prior to the lapse of 30 days from the December 27, 2016 notice, was willful and
intentional and deprived plaintiff of his property without due process of law
afforded under the Fourteenth Amendment to the Constitution of the United
States.
                              Eighth Claim For Relief
     24.That defendants razing the residence subsequent to plaintiff serving
notice upon defendants objecting to finding the residence a public nuisance, and
prior to the lapse of 30 days from the December 27, 2016 notice, was willful and
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intentional and denied plaintiffs right to due process of law under the Fourteenth
Amendment to the Constitution of the United States.


      WHEREFORE the above premises considered plaintiff respectfully the court
for the following relief:
    a) Enter an Order finding the defendants denied plaintiff due process of law
in violation of the Fourteenth Arnendrnent to the Constitution of the United
States.
    b) Enter an Order finding the defendant deprived plaintiff of his property
without due process of law in violation of the Fourteenth Amendment to the
Constitution of The United States;
    c) Enter an Order awarding Plaintiff Compensatory and incidental damages
as would put him in the economic position he would have been in but for acts
complained of herein;
    d) Enter an Order awarding Plaintiff punitive damages against defendants to
insure that the actions of the defendants will not re-occur.
    e) Such other,further and different relief the court deems proper.


                                                    Re ectfully sub itted


OF COUNSEL
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                                                     s/James E. Wilson,        L077

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